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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

vs Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

Defendant

 

JOINT STATUS REPORT
The United States of America, by and through the U.S. Attorney for the
District of Columbia, and the defendant through his counsel, file this joint status
report to provide the Court with the current status of this matter.

i. On December 18, 2018, the Court held what was scheduled to be a

sentencing hearing in this matter. The defendant requested a continuance at that

hearing, “to allow him to complete [his] cooperation” in a related case charged in the
Eastern District of Virginia “EDVA”). See Dec. 18, 2018 Sentencing Hearing
Transcript, at 30-31, 46-50. The Court granted the defendant’s request and ordered
the parties to file a status report by March 13, 2019. The parties filed a status
report on March 12, 2019, and, in response, the Court ordered the parties to file
another status report by no later than June 14, 2019, “to update the Court on the
status of the defendant’s cooperation.”

2. With the exception of the EDVA case, the defendant’s cooperation is |
complete. The trial in EDVA is scheduled to begin on July 15, 2019, and expected to

last more than one week. The defendant could be called as a witness at the trial.
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8.  Defendant:has retained new counsel. Prior counsel

available for ew counsel, and they have advised it is voluminot

now has the file:

is. ‘Undersigned

defense counsel is already in possession of a massive amount of information to

pidcess, Localieo-counseél is being retained, and perforce, they have no familiarity

with the case.

4.  Theparties propose filing another status report within:60 days, Based

onthe current trial date inthe EDVA case and wstinuted length of that trial, the

government believes 60 days should:provide sufficient time for the defendant. to

complete his cooperation, which was the basis for the defendan

céntinuatice, Defense: eounsel’s concerts about the amount of i ii a

in prepatation:for sentencing will be addressed again in 60 days,

defendant's cooperation is likely to be complete.

 

 

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Deputy Chief, National: Seeurity Division

 
  

DEBORA H CURTIS
sistant United States Attorney

  

 

 

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